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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
CENTRAL STATES, SOUTHEAST AND )
SOUTHWEST AREAS PENSION FUND; )
and ARTHUR H. BUNTE JR., as Trustee, )
)
Plaimz`ffv, ) Case No. 13 CV 1331
v. )
) Judge: Ronald A. Guzman
THE S K CONSTRUCTION CO., )
an Ohio corporation; ) Magistrate Judge: Brown
)
Defendant. )
JUDGMENT ORDER

This matter coming before the Court on Plaintiffs’ Motion for Entry of Default and
Default Judgment, and the Court having reviewed the Motion along with the supporting
materials, hereby FINDS, ORDERS, and ADJUDGES as follows:

l. That Defendant, The S K Construction Co., is adjudged to be in default.

2. That a defaultjudgment is entered against The S K Construetion Co..

3. That the Fund and Arthur H. Bunte, Jr., as Trustee, have and recover from and
against The S K Construction Co. in the total amount of $3,064,922.19. This amount represents
(i) $2,504,618.50 in withdrawal liability; (ii) $57,969.82 in interest through May 9, 2013; (iii)
$500,923.70 in liquidated damages as allowed pursuant to 29 U.S.C.§§1132(g)(2); and (iv)
$1410.17 in attorney’s fees and costs for prosecuting this suit as allowed pursuant to 29

U.s.C.§§i 132(§)(2) and i451(b).

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4. That Plaintiffs are awarded post-judgment interest on the entire judgment balance
at an annualized interest rate equal to two percent (2%) plus the prime interest rate established by
JPMorgan Chase Bank, NA for the fifteenth (15th) day of the month for which interest is charged
and with said interest to be compounded annually.

5. That Plaintiffs may proceed with collection of thejudgment.

Dated: ,_f:/z{/zy/Z Enter:

 

Ronald A. Guz an
United States District Judge

